             Case 3:18-cv-07591-CRB Document 1429 Filed 06/06/22 Page 1 of 3



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13                          UNITED STATES DISTRICT COURT
14                       NORTHERN DISTRICT OF CALIFORNIA
15
16 CITY AND COUNTY OF SAN                          Case No. 3:18-cv-07591-CRB
     FRANCISCO, et al.
17                                                 DEFENDANT WALGREEN CO.’S
                    Plaintiffs,                    NOTICE OF EXHIBITS
18                                                 ADMITTED SUBJECT TO
            vs.                                    OBJECTION ON JUNE 2, 2022
19
     PURDUE PHARMA L.P. et al.                     Div.: Courtroom 6
20                                                 Judge: Honorable Charles R. Breyer
                    Defendants.
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           DEFENDANT WALGREEN CO.’S NOTICE OF EXHIBITS ADMITTED SUBJECT TO OBJECTION
                                  CASE NO. 3:18-CV-07591-CRB
           Case 3:18-cv-07591-CRB Document 1429 Filed 06/06/22 Page 2 of 3



 1        Defendant Walgreen Co. (“Walgreens”) hereby submits the following list of exhibits

 2 admitted subject to objection, in connection with its examination of Natasha Polster.
 3
 4   Ex. No.            Date          Description

 5   WAG-MDL-00018      08/01/1998    Good Faith Practices (Revised 08/01/98)

 6   WAG-MDL-00211      06/20/2011    Controlled Substance Prescriptions & Good Faith
                                      Dispensing
 7   WAG-MDL-00304      6/11/2012     Controlled Substance Prescriptions & Good Faith
 8                                    Dispensing Policy (GFDP)
     WAG-MDL-00324      10/09/2012    Presentation re Controlled Substance Ordering -
 9                                    Evolution of Controlled Substance Ordering Process
     WAG-MDL-00365      03/00/2013    National Target Drug Good Faith Dispensing Policy
10                                    (TGFDP)
     WAG-MDL-00547      10/1/2017     Target Drug Good Faith Dispensing Checklist,
11
                                      Walgreens
12   WAG-MDL-01662      06/11/2012    Email from RX Mail to District Managers and
                                      Pharmacy Supervisors re Controlled Substance Action
13                                    Plan: District PowerPoint
     WAG-MDL-01756      06/26/2006    Good Faith Practices/Fraudulent Prescriptions
14
     WAG-MDL-02606      09/15/2015    BCI Executive Summary
15
     WAG-MDL-02941      2/11/2016     Email from R. Lowe to Store.mgr.01327 re Region 11
16                                    Pharmacist GFD Opportunities
17   WAG-MDL-03098      00/00/2013    Hard Copy Pharmacy Supervisor Walk (2013)

18   WAG-MDL-03100      00/00/2014    Hard Copy Pharmacy Supervisor Storewalk (2014)

19   WAG-MDL-03111      11/18/2019    Caring for Patients in Pain: Community Pharmacy's
                                      Role in OTC Multi-Model Pain Solutions
20   WAG-MDL-03189      4/3/2012      Good Faith Dispensing Responsibilities
21   WAG-MDL-03871      4/14/2021     Nationwide Coaching Report
22   P-08619            6/19/2013     DCs Suspicious Order Monitoring Policy and Procedure
23   P-08619_EX         6/19/2013     DCs Suspicious Order Monitoring Policy and Procedure
24   P-15085            9/9/2015      RE: Monthly DM webinars; Good Faith Dispensing DM
                                      Webinar
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     P-17156            2018          Salesforce_Case_01195618
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                                CASE NO. 3:18-CV-07591-CRB
          Case 3:18-cv-07591-CRB Document 1429 Filed 06/06/22 Page 3 of 3



 1 DATED: June 6, 2022                  Respectfully submitted,

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